                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 GREENWOOD GAMING &                                CIVIL ACTION
 ENTERTAINMENT, INC.
 Plaintiff,                                        NO. 22-4434

        v.

 POM OF PENNSYLVANIA, LLC et al.,
 Defendants.


                           ORDER RE: MOTION TO DISMISS

      AND NOW, this 5th day of May, 2023, for the reasons stated in the foregoing

Memorandum, it is hereby ORDERED:

   1. Defendants’ Motions to Dismiss (ECF No. 18 & 19) are DENIED without prejudice.

   2. Defendants shall answer the Complaint within fourteen (14) days and assert any

      counterclaims, crossclaims, or third-party claims. These latter actions would be stayed if

      they were filed.

   3. The parties shall serve Rule 34 requests within thirty (30) days. Objections are due within

      fourteen (14) days, to be followed by the usual requirement of a meet and confer process.

      Any motions to compel must be filed within sixty (60) days thereafter.

   4. The Court envisions by this procedure that the parties will have each other’s documents,

      at least after a “first request”, but depositions and more extensive discovery will be stayed

      at this time.

   5. The Court will revisit this situation in approximately six (6) months and depending on the

      proceedings before the Pennsylvania Supreme Court, make a further decision as to what

      should happen in this case after hearing from the parties.



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    BY THE COURT:

    /s/ MICHAEL M. BAYLSON
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    MICHAEL M. BAYLSON, U.S.D.J.




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